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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


   MATTHEW J. PLATKIN, et al.                                  Civil Action No. 2:25-cv-03057
                                                                           (MCA-JSA)
                        Plaintiffs,
                                                                     Filed Electronically
                        V.




   REALPAGE, INC., et al.

                        Defendants.




     STIPULATION AND            ORDER REGARDING BRIEFING SCHEDULE
                 AND PAGE LIMITS FOR MOTIONS TO DISMISS

         Plaintiffs Matthew J. Platkin, Attorney General of the State of New Jersey, and Elizabeth

  Harris, Acting Director of the New Jersey Division of Consumer Affairs (together, "Plaintiffs")


   and Defendants RealPage, Inc. ("RealPage"); Morgan Properties Management Company, LLC;

  AvalonBay Communities, Inc.; LeFrak Estates, L.P. ("LeFrak"); Greystar Management Services,

  LLC ("Greystar"); AION Management, LLC; Cammeby's Management Co. of New Jersey L.P.

  ("Cammeby's"); Veris Residential, Inc.; Russo Development, LLC, and Russo Property

  Management, LLC (together, "Russo"); The Kamson Corporation ("Kamson"); and Bozzuto

  Management Company (collectively "Defendants," and together with Plaintiffs, "Parties") hereby

  submit the following stipulation regarding the briefing schedule and page-limits for Defendants'

  anticipated Motions to Dismiss Plaintiffs' Complaint:

         WHEREAS, Plaintiffs initiated this action on April 23, 2025, by filing a redacted copy of

  the Complaint publicly and an unredacted copy of the Complaint under seal (the "Complaint");

         WHEREAS, of the eleven Defendants remaining in the case (counting Russo as a single

  Defendant), nine anticipate responding to the Complaint through a Joint Motion to Dismiss (the

  "Joint Motion to Dismiss");
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          WHEREAS, three of those nine Defendants also anticipate responding to the Complaint

   with short supplemental individual or joint briefs (the "Supplemental Briefs") addressing certain

   allegations and claims, as set forth in the Complaint, that are specific to those individual

   Defendants;

          WHEREAS, the remaining two Defendants anticipate filing their own separate Motions to

   Dismiss (the "Separate Motions to Dismiss", and together with the "Joint Motion to Dismiss" and

   the "Supplemental Briefs", the "Motions to Dismiss") in accordance with the Local Rules;

          WHEREAS, on June 5, 2025, the Court entered the Parties' stipulation, which ordered that

   all Defendants' responses to the Complaint be filed on or before July 15, 2025 (D.E. 29);

          WHEREAS, the Parties have agreed to extend the deadline for all Defendants to respond

   to the Complaint until July 29, 2025;

          WHEREAS, the Parties have agreed to a joint proposed briefing schedule for the Motions

   to Dismiss;

          WHEREAS, the Parties agree that additional pages beyond those provided under Local

   Civil Rule 7.2 are necessary to fully present the issues that are expected to be jointly raised and

  addressed in the Joint Motion to Dismiss;

          WHEREAS, the Parties agree that the Supplemental Briefs shall not exceed 15 pages in

   double-spaced 12-point proportional font (or the equivalent length in double-spaced 12-point non­

  proportional font or 14-point proportional font); and

          WHEREAS, the Parties agree that the briefing filed in connection with the Separate

  Motions to Dismiss shall be subject to the page limitations provided under Local Civil Rule 7.2;

          IT IS HEREBY STIPULATED AND AGREED, among the Parties, subject to the Court's

  approval, as follows:


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           1.      The Parties agree to the following schedule for the Motions to Dismiss:

                          i. Defendants will file the Joint Motion to Dismiss, the Supplemental Briefs,
                             and the Separate Motions to Dismiss on or before July 29, 2025;

                       ii. Plaintiffs will file their oppositions to the Motions to Dismiss on or before
                           September 30, 2025;

                     111.   Defendants will file their replies in support of the Motions to Dismiss on or
                            before October 30, 2025; and

                     iv. The Parties respectfully request that the Court hold a hearing on the Motions
                         to Dismiss at its earliest convenience.

           2.      The opening brief in support of the Joint Motion to Dismiss shall be no more than

   40-pages double-spaced 12-point proportional font; the opposition brief to the Joint Motion to

   Dismiss shall be no more than 40-pages double-spaced 12-point proportional font; and the reply

   brief to the Joint Motion to Dismiss shall be no more than 20-pages double-spaced 12-point

   proportional font. 1

           3.      Opening Supplemental Briefs shall be no more than 15 pages double-spaced 12-

  point proportional font; opposition briefs in response shall be no more than 15 pages double-spaced

   12-point proportional font; and reply briefs shall be no more than 8 pages double-spaced 12-point

  proportional font.

          4.       All briefing on the Separate Motions to Dismiss shall be subject to the page

  limitations provided under Local Civil Rule 7.2

          IT IS SO STIPULATED:

          Dated: July 3, 2025




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    The Parties agree that for any of the page limits set forth in this Stipulation, the equivalent page
  limits set forth in Local Civil Rule 7.2 shall be used for any of the alternative font sizes as set forth
  by the Rule.
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                        -- -




                                                      Isl Liza M. Walsh
    MATTHEW J. PLATKIN                                Liza M. Walsh (NJ Attorney ID
    ATTORNEY GENERAL OF NEW JERSEY                    013621985)
                                                      Christine I. Gam1on (NJ Attorney ID
    Isl Brian F. McDonough                            032052003)
    Brian F. McDonough (NJ Attorney ID                Christine P. Clark (NJ Attorney ID
    026121980) Assistant Attorney General             408252022)
    Brian.McDonough@law.njoag.gov                     Three Gateway Center
                                                      100 Mulberry Street, 15th Floor
    David Reichenberg (NJ Attorney ID                 Newark, New Jersey 07102
    507282024)                                        (973) 757-1100
    Deputy Attorney General
    Section Chief, Antitrust Section                  Stephen Weissman (pro hac vice
    David.Reichenberg@law.njoag.gov                   forthcoming)
                                                      Michael J. Perry
    Jesse J. Sierant (NJ Attorney ID 049342013)       GIBSON, DUNN & CRUTCHER LLP
    Deputy Attorney General                           1050 Connecticut Avenue, NW
    Section Chief, Consumer Fraud Prosecution         Washington, DC 20036
    Section                                           (202) 955-8678
    Jesse.Sierant@law.njoag.gov
                                                      Jay Srinivasan (pro hac vice forthcoming)
    Leslie Prentice (NJ Attorney ID 021952011)        Daniel G. Swanson (pro hac vice
    Deputy Attorney General                           forthcoming)
    Antitrust Section                                 GIBSON, DUNN & CRUTCHER LLP
    Leslie.Prentice@law.njoag.gov                     333 South Grand Avenue
                                                      Los Angeles, CA 90071
    Blair Gerold (NJ Attorney ID 294602019)           Telephone: (213) 229-7430
    Deputy Attorney General
    Consumer Fraud Prosecution Section                S. Chris Whittaker (pro hac vice
    Blair.Gerold@law.njoag.gov                        forthcoming)
                                                      GIBSON, DUNN & CRUTCHER LLP
    New Jersey Office of the Attorney General         1361 Michelson Drive
    124 Halsey Street, 5th Floor                      Irvine, CA 92612
    Newark, NJ 07101                                  (949) 451-4337
    Tel: (609) 696-5271
                                                      Ben A. Sherwood (pro hac vice
    Isl Brent Johnson                                 forthcoming)
    Brent Johnson (NJ Attorney ID 031902003)          GIBSON, DUNN & CRUTCHER LLP
    Emmy L. Levens (admitted pro hac vice)            200 Park Avenue
    Robert A. Braun (admitted pro hac vice)           New York, NY 10166
    Amanda K. Chuzi (admitted pro hac vice)           Telephone: (212) 351-2671
    COHEN MILSTEIN SELLERS
    & TOLL PLLC                                       Henry Comillie (pro hac vice forthcoming)
    1100 New York Avenue NW, Suite 800                Gibson, Dunn & Crutcher LLP
    Washington, DC 20005                              One Embarcadero Center Suite 2600
    (202) 408-4600                                    San Francisco, CA 94111-3715

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    bjohnson@cohenmilstein.com                    Telephone: (415) 393-8260
    elevens@cohemnilstein.com
    rbraun@cohenmilstein.com                      Attorneys for Defendant Rea/Page, Inc.

    Aaron J. Marks (admitted pro hac vice)        Isl Andrew Muscato
    COHEN MILSTEIN SELLERS                        Andrew Muscato (NJ Attorney ID
    & TOLL PLLC                                   018661978)
    88 Pine Street, 14th Floor New York, NY       Karen Hoffman Lent (pro hac vice
    10005                                         forthcoming)
    (212) 838-7797                                Boris Bershteyn (pro hac vice forthcoming)
    amarks@cohemnilstein.com                      Evan Kreiner (pro hac vice forthcoming)
                                                  Sam Auld (pro hac vice forthcoming)
    Attorneys for Plaintiffs                      SKADDEN, ARPS, SLATE,
                                                   MEAGHER & FLOM LLP
    Isl Arnold B. Calmann                         One Manhattan West
    Arnold B. Calmann (acalmann@saiber.com)       New York, New York 10001
    Jakob B. Halpern (jhalpern@saiber.com)        Telephone: (212) 735-3000
    SAIBER LLC                                    Andrew.Muscato@skadden.com
    18 Columbia Turnpike, Suite 200               Karen.Lent@skadden.corn
    Florham Park, NJ 07932                        Boris.Bershteyn@skadden.com
    Telephone: (973) 622-3333                     Evan.Kreiner@skadden.com
                                                  Sam.Auld@skadden.com
    Jeffrey C. Bank (jbank@wsgr.com)
    Brian J. Smith (brian.smith@wsgr.com)     Attorneys for Defendant Greystar
    Kendall Karr (kkarr@wsgr.com)             Management Services, LLC
    WILSON SONSINI GOODRICH & ROSATI,
    P.C.                                      Isl Jennifer Suh
    1700 K Street NW, Fifth Floor             Jennifer Suh
    Washington, DC 20006                      Fara Tabatabai (pro hac vice forthcoming)
    Telephone: (202) 973-8800                 HUGHES HUBBARD & REED LLP
                                              One Battery Park Plaza
    Attorneys for Defendant Morgan Properties New York, NY 10004
    Management Company, LLC                   Tel.: (212) 837-6000
                                              Fax: (212) 299-6882
    Isl Kevin M McDonough                     jennifer.suh@hugheshubbard.com
    Kevin M. McDonough                        fara.tabatabai@hugheshubbard.com
    LATHAM & WATKINS LLP
    1271 Avenue of the Americas               Sam Cowin (pro hac vice forthcoming)
    New York, NY 10020                        Joe Dugan (pro hac vice forthcoming)
    Telephone: (212) 906-1200                 James D. Bragdon (pro hac vice
                                              forthcoming)
    Belinda S Lee (pro hac vice)              Rose C.A. Woolson (pro hac vice
    LATHAM & WATKINS LLP                      forthcoming)
    505 Montgomery Street, Suite 2000         GALLAGHER EVELIUS & JONES LLP
    San Francisco, CA 94111-6538              218 North Charles Street, Suite 400
    Telephone: (415) 391-0600                 Baltimore, MD 21201

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                                                   Telephone: (410) 727-7702
    Jennifer L. Giordano (pro hac vice)            Facsimile: (410) 468-2786
    Ehsan Kashfipour (pro hac vice)                scowin@gejlaw.com
    Allison B. Smith (pro hac vice)                jdugan@gejlaw.com
    LATHAM & WATKINS LLP                           jbragdon@gejlaw. com
    555 Eleventh Street, NW, Suite 1000            rwoolson@gejlaw.com
    Washington, D.C. 20004-1304
    Telephone: (202) 637-2200                      Attorneys for Defendant
                                                   Bozzuto Management Company
    Attorneys for Defendant AvalonBay
    Communities, Inc.                              Isl Harvey Bartle
                                                   Harvey Bartle (NJ Attorney ID
    Isl David S. Gold                              028792003)
    Leo V. Leyva                                   MORGAN, LEWIS & BOCKIUS LLP
    Joseph Barbiere                                502 Carnegie Center
    David S. Gold                                  Princeton, New Jersey 08540-6241
    COLE SCHOTZ P.C.                               Telephone: 609.919.6685
    Court Plaza North, 25 Main Street              harvey.bartle@morganlewis.com
    Hackensack, NJ 07601
    lleyva@coleschotz.com                          William T. McEnroe (pro hac vice
    jbarbiere@coleschotz.com                       forthcoming)
    dgold@coleschotz.com                           MORGAN, LEWIS & BOCKIUS LLP
                                                   2222 Market Street
    Attorneys for Defendant The Kamson             Philadelphia, PA 19103-3007
    Corporation                                    Tel: (215) 963-5000
                                                   william.mcenroe@morganlewis.com
    Isl Sean J Kirby
    Sean J. Kirby (NJ Attorney ID 027782006)       Minna Naranjo (pro hac vice forthcoming)
    SHEPPARD, MULLIN, RICHTER &                    MORGAN, LEWIS & BOCKIUS LLP
    HAMPTON LLP                                    One Market, Spear Street Tower
    30 Rockefeller Plaza                           San Francisco, CA 94105-1596
    New York, New York 10112                       Tel: (415) 442-1000
    Telephone: (212) 653-8700                      minna.naranjo@morganlewis.com
    skirby@sheppardmullin.com
                                                   Attorneys for Defendants
    Leo Caseria (admitted pro hac vice)            Russo Development, LLC, and Russo
    Timothy Benedict (admitted pro hac vice)       Property Management, LLC
    SHEPPARD, MULLIN, RICHTER &
    HAMPTON LLP                                    Isl David A. Kotler
    2099 Pennsylvania Avenue, NW, Suite 100        David A. Kotler (NJ Attorney ID
    Washington, DC 20006-6801                      040701993)
    Telephone: (202) 747-1900                      DECHERT LLP
    lcaseria@sheppardmullin.com
                                                   Three Bryant Park
    tbenedict@sheppardmullin.com
                                                   1095 Avenue of the Americas
    Scott Sveslosky (admitted pro hac vice)        New York, NY 10036
                                                   (212) 698-3669

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    SHEPPARD, MULLIN, RICHTER &                        david.kotler@dechert.com
    HAMPTON LLP
    350 South Grand Ave., 40th Floor                   Steven A. Engel (admitted pro hac vice)
    Los Angeles, CA 90071-3460                         John "Jay" Jurata, Jr. (admitted pro hac
    Telephone: (213) 620-1780                          vice)
    ssveslosky@sheppardmullin.com                      DECHERT LLP
                                                       1900 K Street, NW
    Helen Eckert (admitted pro hac vice)               Washington, DC 20006
    SHEPPARD, MULLIN, RICHTER &
                                                       (202) 261-3369
    HAMPTON LLP
                                                       steven.engel@dechert.com
    Four Embarcadero Center, 17th Floor
    San Francisco, CA 94111-4109                       jay.jurata@dechert.com
    Telephone: (415) 434-9100
    herkert@sheppardmullin.com                         Attorneys for Defendant Cammeby 's
                                                       Management Co. of New Jersey, L.P.
    Attorneys for Defendant Veris Residential, Inc.
                                                       Isl Courtney L. Schultz
    Isl Christopher Parrino                            Courtney L. Schultz, Esq. (NJ Attorney ID
    Christopher Porrino (NJ Attorney ID                012482009)
    017631992)                                         1500 Market St.
    LOWENSTEIN SANDLER LLP                             Centre Square West, 38th Floor
    1251 Avenue of the Americas                        Philadelphia, Pa. 19002
    New York, NY 10020                                 (215) 972-7717
    (212) 262-6700                                     courtney.schultz@saul.com
    cporrino@lowenstein.com
                                                       Katherine Ellen Chrisman (NJ Attorney ID
    Aidan Synnott                                      332042022)
    Roberto Finzi                                      650 College Road East, Suite 4000
    PAUL, WEISS, RIFKIND, WHARTON &                    Princeton, NJ 08540
    GARRISON LLP                                       Tel: (609) 452-3129
    1285 Avenue of the Americas                        katherine.chrisman@saul.com
    New York, NY 10019
    (212) 373-3000                                     David D. Cross (pro hac vice)
    asynnott@paulweiss.com                             Alexandra Russell (pro hac vice)
    rfinzi@paulweiss.com                               Goodwin Procter LLP
                                                       1900 N Street, N.W.
    Attorneys for Defendant LeFrak Estates, L.P.       Washington, DC 20036
                                                       Tel.: (202) 346-4000
                                                       dcross@goodwinlaw.com
                                                       arussell@goodwinlaw.com

                                                       Attorneys for Defendant AION
                                                       Management, LLC




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        SO ORDERED this   X    day of_JJA�L_i\_�.,_/ ____�, 20�5.



                                           TH   ONORABLE S CA S. ALLEN
                                           UNITED STATES MAGISTRATE JUDGE




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